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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10   CHRISTIAN VIZCARRA, on behalf         Case No.: ED CV 19-1946-DMG (SPx)
      of himself and others similarly
 11   situated,                             ORDER FOR DISMISSAL OF
                                            ACTION WITHOUT PREJUDICE
 12                      Plaintiff,         [27]
 13                 v.
 14   CHAMPION HOME BUILDERS,
      INC., formerly known as SKYLINE
 15   HOMES, INC., a Delaware
      Corporation; and DOES 1 through 50,
 16   inclusive,
 17                      Defendants
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  1         IT IS HEREBY ORDERED that the complaint and any and all claims for
  2   relief in the above-captioned action as to the individual plaintiff are hereby
  3   dismissed with prejudice. The claims of the putative class are dismissed without
  4   prejudice.
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  6   DATED: November 9, 2020                 _______________________________
                                              DOLLY M. GEE
  7                                           UNITED STATES DISTRICT COURT
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